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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

LATOYA BROWN; LAWRENCE
BLACKMON; I-IBRBERT ANTHONY
GREEN', KHADAFY MANNING;
QUINNETTA MANNTNG; MARVIN
MCFIELD; NICHOLAS SlNGLETON',
STEVEN SMITH; BESSIE THOMAS; and
BETTY JEAN WILLIAMS TUCKER,
individually and on behalf of a class of all others
similarly Situated,

Plaintiffs,
v.

MADISON COUNTY, MlSSISSIPPI;
SHERIFF RANDALL S. TUCKER, in his
official capacity; and MADISON COUNTY
SHERIFF’S DEPUTIES JOHN DOES #l
through #6, in their individual capacities,

Defendants.

Civil Action No.
3 : l 7~cV-003 47~WHB-LRA

 

 

STIPULATED SCHEDULING ORDER

Plaintiffs and Defendants hereby stipulate and agree that, subject to the approval of the

Court, the following schedule shall apply With respect to the motions referenced herein:

l. The deadline for Plaintiffs to respond to (l) Defendants’ Conditional Motion for

Evidentiary Hearing {ECF No. 269], (2) Defendants’ lvlotion to Strike Newspaper Artieles

Attached to Plaintiffs’ Motion for Class Certification [ECF No. 274], and (3) Defendants’

Motion 2

to Stril<e Deelarations [ECF No. 285]! is June 7, 2018. The deadline for Defendants’ reply With

respect to each motion referenced in this paragraph in July 2, 2018.

 

1 To the extent it is not Withdrawn, the same deadlines shall apply to Defendants’ initial Motion
to Strike Declarations, filed on May 8, 2018 [ECF No. 276].

 

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2. The deadline for Plaintlffs to respond to (1) Defendants’ Daubert Motion and

Motion in Lirnine to Exclude the Report and Testirnony of Bryan Ricchetti [ECF No. 270] and

(2)

Defendants’ Motion in Limine to Exclude the Declaration and Testimony of Rahul Guha [BCF

No. 272] is July 2, 2018, The deadline for Defendants’ reply With respect to each motion

referenced in this paragraph is July 23, 2018.

3. Except as set forth herein, all other scheduling orders in this Action remain in full

effect.

Dated: May l7, 2018

By: /s/ Jeshua Torn
loshua Tom

 

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The foregoing Stipulated Scheduling Order is approved and adopted as an Order of the

Court in the United States District Court for the Southern District of l\/lississippi, Northern

§ _~.§h f.l;‘~?£‘l

Division, this thai/sal day of May, 2013.

__s/ LindaR. Anderson

  

UNIT`ED STATES MAGISTRATE JUDGE'

 

